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 9                             UNITED STATES DISTRICT COURT
10                           SOUTHERN DISTRICT OF CALIFORNIA
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12    TODD HALL, individually and on behalf               Case No.: 3:19-cv-01715-JLS-AHG
      of all others similarly situated,
13                                                        ORDER SETTING BRIEFING
                                         Plaintiff,       SCHEDULE
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      v.
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      MARRIOTT INTERNATIONAL, INC.,
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                                       Defendant.
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            On June 24, 2021, the parties alerted the Court that they disagreed about whether
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      Plaintiff Branca should be required to produce documents relating to various ticket
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      purchases. Email to Chambers (June 24, 2021 at 11:21 a.m.). The Court held a telephonic
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      discovery conference on June 30, 2021. ECF No. 94. The Court finds it appropriate to issue
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      a briefing schedule in this matter. Therefore, the Court orders the following:
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            1.     The parties shall continue to meet and confer, in an attempt to resolve the
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                   remaining disputes or narrow the issues;
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            2.     If any disputed issues remain:
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                   A.    Defendant must serve Plaintiff Branca its proposed joint motion by
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                         July 8, 2021 at 4:00 p.m.;
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 1               B.    Plaintiff Branca must serve Defendant his response by July 14, 2021
 2                     at 4:00 p.m.;
 3               C.    Plaintiff and Defendant will have the opportunity to exchange minor
 4                     changes on July 15, 2021;
 5               D.    The final Joint Motion for Determination of Discovery Dispute must
 6                     be filed by July 15, 2021 at 4:00 p.m.;
 7               E.    The parties are expected to fully articulate their positions in their
 8                     initial draft of their portions of the joint motion. The purpose of the
 9                     brief time between the exchange of drafts and the filing deadline is to
10                     allow the parties to review and understand each other’s positions and
11                     make minor adjustments to their portions in response;
12               F.    The joint motion must be no longer than ten (10) pages total,
13                     excluding exhibits, with no more than five (5) pages from each side.
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           IT IS SO ORDERED.
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      Dated: June 30, 2021
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